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                              No. 21-2683

          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE SEVENTH CIRCUIT

JANAY GARRICK,
    Plaintiff-Appellant,

v.

MOODY BIBLE INSTITUTE,
   Defendant-Appellee.

           On Appeal from the United States District Court
                for the Northern District of Illinois

               UNOPPOSED MOTION OF THE
           EQUAL EMPLOYMENT OPPORTUNITY
      COMMISSION TO PARTICIPATE AT ORAL ARGUMENT

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     This Court calendared this case for argument on December 5,

2023. The EEOC filed a brief as amicus curiae, and it now moves to

present oral argument on time ceded by Plaintiff-Appellee Janay

Garrick. In support of this motion, the EEOC states:

  1. Congress charged the EEOC with administering and enforcing

     federal laws prohibiting employment discrimination, including

     Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq.

  2. This appeal involves the immediate appealability of interlocutory

     rulings on Title VII’s protections for non-ministerial employees of

     religious institutions and the scope of the religious autonomy

     doctrine.

  3. The EEOC has a substantial interest in the proper interpretation

     of Title VII and the process for its enforcement.

  4. Plaintiff-Appellee Garrick agreed to cede four minutes of

     argument time to the EEOC. The EEOC’s participation will not

     extend the day’s calendar.

  5. Defendant-Appellant Moody Bible Institute takes no position on

     the instant motion.




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     Accordingly, the EEOC asks this Court to grant this motion and

permit the EEOC to present oral argument on time ceded by the

Plaintiff-Appellee.

                                  KARLA GILBRIDE
                                  General Counsel

                                  JENNIFER S. GOLDSTEIN
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                                  /s/ Georgina C. Yeomans
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October 31, 2023




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                   CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2)(A) because it contains 179 words.

     This motion complies with the typeface and type-style

requirements of Fed. R. App. P. 27(d)(1)(E), 32(a)(5), and 32(a)(6)

because it has been prepared in a proportionally spaced typeface using

Microsoft Word 365 in Century 14 point.

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                      CERTIFICATE OF SERVICE

     I certify that on October 31, 2023, I electronically filed the

foregoing motion in PDF format with the Clerk of Court via the

appellate CM/ECF system. I certify that all counsel of record are

registered CM/ECF users, and service will be accomplished via the

appellate CM/ECF system.



                                   s/Georgina C. Yeomans
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